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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION

                                                                      CASE NO.: 17-23640-BKC-EPK
                                                                   PROCEEDING UNDER CHAPTER 13

IN RE:

SHAWN THOMPSON
XXX-XX-5883
MARCEN MORRIS
XXX-XX-5633

_____________________________/
DEBTORS

                                     CERTIFICATE OF SERVICE


                 ORDER GRANTING TRUSTEE'S MOTION TO DISMISS DE#66


       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of the Pleading noted above was
served, via U.S. first class mail, certified mail and/or CM/ECF, upon the parties listed on the attached
service list this 24th day of September, 2019.

                                                                 /s/ Robin R. Weiner
                                                             _____________________________________
                                                                 ROBIN R. WEINER, ESQUIRE
                                                                 STANDING CHAPTER 13 TRUSTEE
                                                                 P.O. BOX 559007
                                                                 FORT LAUDERDALE, FL 33355-9007
                                                                 TELEPHONE: 954-382-2001
                                                                 FLORIDA BAR NO.: 861154
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                                                                     CERTIFICATE OF SERVICE
                                                                   CASE NO.: 17-23640-BKC-EPK

                                   SERVICE LIST

COPIES FURNISHED TO:

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